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          APPENDIX D – STATUTES REQUIRING NOTICE TO STATE ATTORNEY GENERAL

  STATE                                                       NOTICE PROVISION
  Arizona           “A person filing a complaint, counterclaim or answer for any violation of the provisions of this
                    article shall simultaneously with the filing of the pleading in the superior court or, in the case of
                    pendent state law claims in the federal court, serve a copy of the complaint, counterclaim or answer
                    on the attorney general. Proof of service on the attorney general shall be filed with the court.” Ariz.
                    Rev. Stat. Ann. § 44-1415A.
 Colorado           “Any person that files a civil action that includes any allegation of a violation of this article 4 shall,
                    simultaneously with the filing of the action in district court, serve a copy of the complaint on the
                    attorney general.” Colo. Rev. Stat. Ann. § 6-4-116.
Connecticut         “Any person filing a complaint, counterclaim, or answer, for any violation of the provisions of this
                    chapter shall, simultaneously with the returning of the same to Superior Court, or in the case of
                    pendent state law claims, to federal court, mail a copy of the complaint, counterclaim, or answer, to
                    the Attorney General.” Conn. Gen. Stat. Ann. § 35-37.
  Hawaii            “A class action for claims for a violation of this chapter . . . may be filed, and may be
                    prosecuted . . . by a person other than the attorney general . . . [so long as a] filed copy of the
                    complaint . . . [is] served on the attorney general . . . [and] the State declines or fails to timely elect
                    to proceed with the action.” Haw. Rev. Stat. Ann. §§ 480-13.3(a), (a)(1), (a)(2)(C).
  Nevada            “Any person commencing an action for any violation of the provisions of this chapter shall,
                    simultaneously with the filing of the complaint with the court, mail a copy of the complaint to the
                    Attorney General.” Nev. Rev. Stat. Ann. § 598A.210(3).
 New York           “At or before the commencement of any civil action by a party other than the attorney-general for a
                    violation of this section, notice thereof shall be served upon the attorney-general. Where the
                    aggrieved party is a political subdivision or public authority of the state, notice of intention to
                    commence an action under this section must be served upon the attorney-general at least ten days
                    prior to the commencement of such action.” N.Y. Gen. Bus. Law § 340(5).
Rhode Island        “Upon commencement of any civil action by a person, other than the attorney general, for a
                    violation of this chapter, the plaintiff shall mail a copy of the complaint to the attorney general and
                    shall file proof of service on the attorney general with the court. The civil action may not proceed
                    until the proof of service is filed.” 6 R.I. Gen. Laws Ann. § 6-36-21.
   Utah             “The attorney general shall be notified by the plaintiff about the filing of any class action involving
                    antitrust violations that includes plaintiffs from this state.” Utah Code Ann. § 76-10-3109(9).
